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14
                                     UNITED STATES DISTRICT COURT
15
                                NORTHERN DISTRICT OF CALIFORNIA
16
                                        SAN FRANCISCO DIVISION
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     DJENEBA SIDIBE, et al.,                        Case No. 3:12-CV-04854-LB
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                       Plaintiffs,                  DEFENDANT SUTTER HEALTH’S
20                                                  PUBLIC NOTICE OF MOTION AND
            v.                                      MOTION TO EXCLUDE CERTAIN
21                                                  PORTIONS OF EXPERT
     SUTTER HEALTH,                                 TESTIMONY OF DAVID AXENE
22
                       Defendants.                  Date:            August 12, 2021
23                                                  Time:            1:00 p.m.
                                                    Courtroom:       B, 15th Floor
24                                                  The Hon. Laurel Beeler

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                                                                      Case No. 3:12-CV-04854-LB
                                                                           Notice of Def.’s Motion
                                                                      to Exclude Axene Testimony
        Case 3:12-cv-04854-LB Document 1002 Filed 05/24/21 Page 2 of 2



 1                                NOTICE OF MOTION AND MOTION

 2           PLEASE TAKE NOTICE that on August 12, 2021, at 1:00 p.m., before the Honorable

 3   Laurel Beeler, in Courtroom B, 15th Floor of the above entitled court, Defendant Sutter Health

 4   (“Sutter”) will and hereby does move to exclude the expert testimony of Plaintiffs’ expert,

 5   Mr. David Axene, under Federal Rules of Civil Procedure 702 and 703. This motion is based on

 6   the accompanying Memorandum of Points and Authorities [Docket 996-1], Declaration of Shaina

 7   C. Shapiro, and exhibits attached thereto [Docket 996-2], the complete files and records in this

 8   action, oral argument of counsel, and such other and further matters as the Court may consider.

 9                                           RELIEF SOUGHT

10           Sutter requests that portions of the oral and written testimony of Plaintiffs’ expert, David

11   Axene, be excluded.

12   Dated: May 24, 2021                               Respectfully submitted,
13                                                     Jones Day
14

15                                                     By:     /s/ Jeffrey A. Levee
                                                             Jeffrey A. LeVee
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                                                       Counsel for Defendant
17                                                     SUTTER HEALTH

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                                                                                Case No. 3:12-CV-04854-LB
                                                                                     Notice of Def.’s Motion
                                                    -1-                         to Exclude Axene Testimony
